       Case 2:12-cv-05704-CJC-RZ      Document 22 Filed 10/05/12       Page 1 of 4 Page ID
                                            #:185
                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                          October 05, 2012


       No.:                  12-56815
       D.C. No.:             2:12-cv-05704-CJC-RZ
       Short Title:          Laurack Bray v. U.S. Department of Justice, et al


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.

       Appellants who are filing pro se should refer to the accompanying
       information sheet regarding the filing of informal briefs.
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                                       #:186



                     UNITED STATES COURT OF APPEALS
                                                                    FILED
                               FOR THE NINTH CIRCUIT
                                                                    OCT 05 2012
                                                                   MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS




LAURACK D. BRAY,                               No. 12-56815

      Plaintiff - Appellant,
                                               D.C. No. 2:12-cv-05704-CJC-RZ
 v.                                            U.S. District Court for Central
                                               California, Los Angeles
U.S. DEPARTMENT OF JUSTICE;
UNITED STATES OF AMERICA;                      TIME SCHEDULE ORDER
ERIC H. HOLDER, Jr., Attorney
General; U.S. ATTORNEY'S OFFICE,
LOS ANGELES; ANDRE BIROTTE,
Jr., United States Attorney, in his official
capacity and individually; FBI LOS
ANGELES DIVISION; ROBERT S.
MUELLER, Director, Federal Bureau of
Investigation, in his official capacity;
UNNAMED ASSISTANT DIRECTOR
IN CHARGE, FBI Los Angeles Division,
in his official capacity; UNNAMED
ASSISTANT U.S. ATTORNEYS, LOS
ANGELES, in their official capacities
and individually; TANI-CANTIL-
SAKANYE, Chair, Judicial Council of
California in her official capacity; ERIC
K. SHINSEKI, Secretary of Veteran
Affairs, in his official capacity.;
SUPERIOR COURT OF CALIFORNIA;
THOMAS O'BRIEN, in his official
capacity in his former position as U.S.
Attorney, Los Angeles and Individually;
PATRICK DONOHUE, Postmaster
General of the United States, in his
Case 2:12-cv-05704-CJC-RZ       Document 22 Filed 10/05/12        Page 3 of 4 Page ID
                                      #:187

official Capacity; STEVEN HINTZ;
BARRY KLOPFER; KEN RILEY;
DAVID LONG; ROBERT PERRY;
MICHAEL PASTOR; STEVEN R.
SELLERS, in his official capacity as
trustee-owner and individually,

     Defendants - Appellees,

HAROLD JAMES GRIFFITH;
GREGORY SECOR; JEANETTE M.
ANDREWS; HELEN H. DAVIS,

     Defendants - Real Parties in Interest.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
hearings, the transcript deadlines do not apply.

Fri., November 2, 2012         Transcript shall be ordered.
Thu., January 31, 2013         Transcript shall be filed by court reporter.
Tue., March 12, 2013           Appellant's opening brief and excerpts of record shall
                               be served and filed pursuant to FRAP 32 and 9th Cir.
                               R. 32-1.
Thu., April 11, 2013           Appellees' answering brief and excerpts of record
                               shall be served and filed pursuant to FRAP 32 and
                               9th Cir. R. 32-1.

The optional appellant's reply brief shall be filed and served within fourteen
days of service of the appellees' brief, pursuant to FRAP 32 and 9th Cir. R.
32-1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.
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                                  #:188
                                           FOR THE COURT:
                                           Molly C. Dwyer
                                           Clerk of Court

                                           Freddie Brown
                                           Deputy Clerk
